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 Taly Goody, Esq.                           T. Michael Morgan, Esq.*
 Wyoming Bar No.: 8-6737                    Florida Bar No.: 062229
 Greyson M. Goody, Esq.                     Rudwin Ayala, Esq.*
 GOODY LAW GROUP                            Florida Bar No.: 84005
 58 Malaga Cove Plaza                       MORGAN & MORGAN, P.A
 Palos Verdes Estates, CA 90274             20 N. Orange Ave, Suite 1600
 Telephone: (310) 893-1983                  Orlando, FL 32801
 Email: taly@GoodyLawGroup.com              Telephone: (407) 420-1414
 greyson@GoodyLawGroup.com                  Email: mmorgan@forthepeople.com
                                            rayala@forthepeople.com
                                            * Pro Hac Vice
                                            Attorneys for Plaintiffs

                          UNITED STATES DISTRICT COURT
                      IN AND FOR THE DISTRICT OF WYOMING

   STEPHANIE WADSWORTH,
   Individually and as Parent and Legal
   Guardian of W.W., K.W., G.W., and          Case No.: 2:23-cv-00118-KHR
   L.W., minor children, and MATTHEW
   WADSWORTH,

                      Plaintiffs,

                 v.

   WALMART, INC. and JETSON
   ELECTRIC BIKES, LLC,

                  Defendants.

  PLAINTIFFS’ UNOPPOSED MOTION TO SUBSTITUE LEAD COUNSEL AND
 EXCUSE RUDWIN AYALA FROM ATTENDING THE PRETRIAL CONFERENCE

      Plaintiffs’, by and through their undersigned counsel, respectfully request for

attorney, T. Michael Morgan, to be substituted as lead counsel. Additionally, we request

that attorney, Rudwin Ayala, be excused from attending the Pre-Trial conference

scheduled for tomorrow, February 11, 2025, at 2:00 pm.
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      Pursuant to Local Rule 7.1 (b)(1)(A), Counsel for Plaintiffs have conferred with

defense counsel and they have stated they have no objections to this motion.

      WHEREFORE, Plaintiffs respectfully request entry of an Order granting this

Motion to Substitute Lead Counsel as stated herein, and allow attorney, Rudwin Ayala,

to be excused from attending the Pre-Trial Conference on February 11, 2025.

Date: February 10, 2025.                       Respectfully Submitted,

                                               /s/ T. Michael Morgan, Esq.*
                                               T. Michael Morgan, Esq.
                                               Florida Bar No.: 062229
                                               Rudwin Ayala, Esq*
                                               Florida Bar No.: 84005
                                               MORGAN & MORGAN, P.A
                                               20 N. Orange Ave, Suite 1600
                                               Orlando, FL 32801
                                               Telephone: (407) 420-1414
                                               Email: mmorgan@forthepeople.com
                                               rayala@forthepeople.com
                                               *Pro Hac Vice


                                               And,
                                               TALY GOODY, Esq.
                                               Wyoming Bar No.: 8-6737
                                               GOODY LAW GROUP
                                               58 Malaga Cove Plaza
                                               Palos Verdes Estates, CA 90274
                                               Telephone: (310) 893-1983
                                               Primary Email:
                                               Taly@GoodyLawGroup.com

                                               Counsel for the Plaintiffs




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 10, 2025, a true and correct copy of the

foregoing was electronically filed with the Clerk of Court using the CM/ECF system,

which will send a notice of electronic filing to all counsel of record.

Counsel for Defendants: Walmart Inc., and Jetson Electric Bikes LLC:
Eugene M. LaFlamme – eflamme@MLLlaw.com
Jared B. Giroux – jguiroux@MLLlaw.com
Jillian L. Lukens – jlukens@MLLlaw.com


                                                         /s/ T. Michael Morgan
                                                         T. Michael Morgan
                                                         Florida Bar No.: 062229




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